Case 2:05-cr-20192-.]DB Document 16 Filed 06/02/05 Page 1 of 2 Page|D 19

ai.r=;o 31 U.»'{j/t./,. o,c.

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN D|STR!CT OF TENNESSEE

 

wEsTERN oivlsloN 05 JUN -2 PM w le

4 1 L¢ HOLEO

%?,§§§£`nie 1531.01.

uNlTEo sTATEs oF AMERch, WD ap TN ,,4;_[_,;3,4,3

P|aintiff,

VS.
CR. NO. 05-20192-B

HERNANDEZ RODR|GUEZ,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on lVlay 31 , 2005, At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Nlondav. Julv 25. 2005, at 9:30 a.m., in Courtroom 1, 11th F|oor of the
Federa| Bui|ding, |Vlemphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18

U. S. C. § 31 61 (h)(8)( B)(iv) because the ends ofjustice served` ln allowing for additional time

to prepare outweigh the need for a s edy tria|.
|T |S SO ORDERED this §§ day:une, 2005.

N|EL BREEN
UND| D STATES D|STR| T JUDGE

‘ Vance
‘\`his doctiment entered on the docket sheet-tn often
with R\ile 55 andlor 32lbl FRCrF-" on __,_L£__j_____--

     
 
 

UNITED sTATE DISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

   
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
ease 2:05-CR-20192 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

